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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11   Z. DEAN HAKKAK, an individual,             Case No. 2:19-cv-09205-JAK-JPR
 12                    Plaintiff,                ORDER RE STIPULATION TO
                                                 DISMISS ACTION WITH
 13   v.                                         PREJUDICE (DKT. 25)
 14   GUARDIAN LIFE INSURANCE                    JS-6
      COMPANY OF AMERICA, a
 15   corporation, BERKSHIRE LIFE
      INSURANCE COMPANY OF
 16   AMERICA, a corporation, and
      DOES 1 through 50, inclusive,
 17
                       Defendants.
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 20         Pursuant to the parties’ stipulation, the above-referenced action is dismissed
 21   in its entirety, with prejudice, as to all parties. The parties are to bear their own
 22   respective attorneys’ fees and costs.
 23         IT IS SO ORDERED.
 24
 25           October 2, 2020
      DATED: ____________                      ____________________________
 26                                            John A. Kronstadt
                                               United States District Judge
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